Case 2:25-cv-00066-JRG          Document 1       Filed 01/22/25     Page 1 of 30 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 WI-LAN INC. and WIRELESS FUTURE
 TECHNOLOGIES, INC.,

                        Plaintiffs,                   CIVIL ACTION NO. 2:25-cv-00066

 v.

 TOYOTA MOTOR CORPORATION,                               JURY TRIAL DEMANDED
 TOYOTA MOTOR NORTH AMERICA,
 INC. and TOYOTA MOTOR SALES,
 U.S.A., INC.,

                         Defendants.


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs, Wi-LAN Inc. and Wireless Future Technologies Inc. (collectively, “WiLAN”),

file this Complaint against Defendants, Toyota Motor Corporation, Toyota Motor North America,

Inc. and Toyota Motor Sales, U.S.A., Inc. (collectively, “Toyota”), for infringements of U.S.

Patent No., 8,259,688 (the “’688 Patent”), U.S. Patent No. 9,271,266 (the “’266 Patent”), U.S.

Patent No. 9,490,879 (the “’879 Patent”), U.S. Patent No. 9,622,227 (the “’227 Patent”), U.S.

Patent No. 10,985,956 (the “’956 Patent”), U.S. Patent No. 11,109,282 (the “’282 Patent”), and

U.S. Patent No. 11,388,664 (the “’664 Patent”) (collectively, the “Asserted Patents”).

                                        THE PARTIES

       1.      Plaintiff Wi-LAN Inc. is a corporation organized and existing under the laws of

Canada, with its principal place of business at 1891 Robertson Road, Suite 100, Ottawa, ON, K2H

5B7, Canada.

       2.      Plaintiff Wireless Future Technologies, Inc. is a Delaware corporation, with its
Case 2:25-cv-00066-JRG            Document 1        Filed 01/22/25      Page 2 of 30 PageID #: 2




principal place of business at 1891 Robertson Road, Suite 100, Ottawa, ON, K2H 5B7, Canada.

Wireless Future Technologies, Inc. is a wholly-owned subsidiary of Wi-LAN Technologies Inc.,

which is a wholly-owned subsidiary of Wi-LAN Inc.

         3.    Defendant Toyota Motor Corporation (“TMC”) is a corporation organized and

existing under the laws of Japan with a principal place of business at 1 Toyota-cho, Toyota City,

Aichi Prefecture 471-8571, Japan. On information and belief, TMC does business itself, and

through its subsidiaries, affiliates, and agents, in the State of Texas and the Eastern District of

Texas.

         4.    TMC conducts business in Texas and in the Eastern District of Texas, directly or

through intermediaries, including subsidiaries, distributors, affiliates, retailers, suppliers,

integrators, customers, and others.

         5.    TMC is engaged in making, using, selling, offering for sale, and/or importing

vehicles that support LTE communications (“Accused Products”) 1 to and throughout the United

States, including this District. TMC also induces its subsidiaries, distributors, affiliates, retailers,

suppliers, integrators, and customers in the making, using, selling, offering for sale, and/or

importing such products to and throughout the United States, including this District. To this end,

TMC and its foreign and U.S.-based subsidiaries—which act together as part of TMC’s global

network of sales and manufacturing emissaries—have operated as agents of, and for, one another

and have otherwise acted vicariously for TMC as elements of the same business group and/or

enterprise. Indeed, they work in concert and in orchestrated fashion, subject to agreements that are

far nearer than arm’s length, in order implement a distribution channel of infringing products




1
  The Accused Products include each Toyota- or Lexus-branded vehicle that supports LTE
communications. 2024 Prius models are one example of such vehicles.


                                                   2
Case 2:25-cv-00066-JRG            Document 1           Filed 01/22/25   Page 3 of 30 PageID #: 3




within this District and the United States.

        6.      TMC maintains a substantial corporate presence in the United States via at least its

U.S.-based co-Defendant subsidiaries, namely Toyota Motor North America, Inc. and Defendant

Toyota Motor Sales, U.S.A., Inc.

        7.      Alone and through at least the activities of its U.S.-based co-Defendant

subsidiaries, TMC conducts business in the United States and this District, including importing,

making, distributing, and selling Accused Products that infringe the Asserted Patents. See Trois v.

Apple Tree Auction Center, Inc., 882 F.3d 485, 490 (5th Cir. 2018) (“A defendant may be subject

to personal jurisdiction because of the activities of its agent within the forum state….”); see also

Cephalon, Inc. v. Watson Pharmaceuticals, Inc., 629 F. Supp. 2d 338, 348 (D. Del. 2009) (“The

agency theory may be applied not only to parents and subsidiaries, but also to companies that are

‘two arms of the same business group,’ operate in concert with each other, and enter into

agreements with each other that are nearer than arm’s length.”).

        8.      Through importation, manufacture, offers to sell, sales, distributions, and related

agreements to transfer ownership of TMC’s products with distributors and customers operating in

and maintaining significant business presences in the United States, TMC does extensive business

in the United States, this State, and this District.

        9.      Defendant Toyota Motor North America, Inc. (“TMNA”) is a corporation

organized and existing under the laws of California, with its principal place of business in this

District at 6565 Headquarters Drive, Plano, Texas 75024. On information and belief, TMNA is a

wholly-owned subsidiary of TMC. TMNA may be served with process through its registered agent,

CT Corporation System, located at 1999 Bryan Street, Suite 900, Dallas, Texas 75201. On

information and belief, TMNA is responsible for research and development, manufacturing, sales,




                                                       3
Case 2:25-cv-00066-JRG            Document 1        Filed 01/22/25      Page 4 of 30 PageID #: 4




offers for sale, marketing, importation, and distribution of automotive vehicles from Toyota-

managed brands (e.g., Toyota and Lexus) in the United States, including this District.

        10.     Defendant Toyota Motor Sales, U.S.A., Inc. (“TMS”) is corporation organized and

existing under the laws of California, with its principal place of business in this District at 6565

Headquarters Dr., Plano, Texas 75024. On information and belief, TMS is a wholly-owned

subsidiary of TMC. TMS may be served through its registered agent, CT Corporation System,

located at 1999 Bryan Street, Suite 900, Dallas, Texas 75201. On information and belief, TMS is

responsible for sales, marketing, and distribution of automotive vehicles from Toyota-managed

brands (e.g., Toyota and Lexus) in the United States, including this District.

                                  JURISDICTION AND VENUE

        11.     This is an action for patent infringement arising under the patent laws of the United

States, 35 U.S.C. § 1, et seq., including, without limitation, 35 U.S.C. §§ 271, 281, 284, and 285.

This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

        12.     This Court has specific and general personal jurisdiction over Toyota consistent

with the requirements of the Due Process Clause of the United States Constitution and the Texas

Long Arm Statute because, among other things, Toyota (i) has engaged in continuous, systematic,

and substantial business in Texas, (ii) maintains principal places of business in Texas and in this

District, (iii) is registered to do business in Texas, and (iv) has committed and continues to commit,

directly or through intermediaries (including subsidiaries, agents, distributors, affiliates, retailers,

suppliers, integrators, customers, and others), acts of patent infringement in this State and this

District. Such acts of infringement include making, using, testing, offering for sale, selling, and/or

importing Accused Products in this State and this District and/or inducing others to commit acts

of patent infringement in this State and District. Indeed, Toyota has purposefully and voluntarily




                                                   4
Case 2:25-cv-00066-JRG             Document 1        Filed 01/22/25        Page 5 of 30 PageID #: 5




placed, and is continuing to place, one or more Accused Products into the stream of commerce

through established distribution channels (including the Internet) with the expectation and intent

that such products will be sold to and purchased by consumers in the United States, this State, and

this District; and with the knowledge and expectation that such products will be imported into the

United States, this State, and this District.

        13.     In addition, Toyota has derived substantial revenues from its infringing acts

occurring within this State and this District. Toyota has substantial business in this State and this

District, including (i) at least part of its infringing activities alleged herein, and (ii) regularly doing

or soliciting business, engaging in other persistent conduct, and/or deriving substantial revenue

from infringing goods offered for sale, sold, and imported, and services provided to Texas residents

vicariously through and/or in concert with its agents, intermediaries, distributors, importers,

customers, subsidiaries, and/or consumers.

        14.     Further still, Toyota has knowingly induced, and continues to knowingly induce,

infringements within this State and this District by advertising, marketing, offering for sale and/or

selling Accused Products that incorporate the fundamental technologies covered by the Asserted

Patents. Such advertising, marketing, offering for sale and/or selling of Accused Products is

directed to consumers, customers, manufacturers, integrators, suppliers, distributors, resellers,

partners, and/or end users, and this includes providing instructions, user manuals, advertising,

and/or marketing materials that facilitate, direct and encourage use of infringing functionality with

Toyota’s knowledge thereof. Additionally, TMC has induced TMNA and TMS to import, offer to

sell, and/or sell infringing products within this State and this District through, among other things,

corporate directives and planning.




                                                    5
Case 2:25-cv-00066-JRG           Document 1       Filed 01/22/25      Page 6 of 30 PageID #: 6




       15.     Toyota has, in the multitude of ways described above, availed itself of the benefits

and privileges of conducting business in this State and willingly subjected itself to the exercise of

this Court’s personal jurisdiction over it. Toyota also has sufficient minimum contacts with this

forum through its transaction of substantial business in this State and this District and its

commission of acts of patent infringement as alleged in this Complaint that are purposefully

directed towards this State and District.

       16.     With respect to TMC, venue is proper in this judicial district pursuant to 28 U.S.C.

§§ 1391(c). TMC is a foreign entity and may be sued in any judicial district under 28 U.S.C. §

1391(c)(3).

       17.     With respect to TMNA and TMS, venue is proper in this District under 28 U.S.C.

§§ 1391 and 1400(b) because, among other things, (i) TMNA and TMS are subject to personal

jurisdiction in this District, (ii) TMNA and TMS have committed acts of patent infringement in

this District, and (iii) TMNA and TMS have regular and established places of business in this

District, including at 6565 Headquarters Dr., Plano, Texas 75024.

                     THE ASSERTED PATENTS AND TECHNOLOGY

       18.     The ’688 Patent is entitled, “Pre-Allocated Access Identifiers.” It lawfully issued

on September 4, 2012 and stems from U.S. Patent Application No. 11/469,794, which was filed

on September 1, 2006. The ’688 Patent is publicly- available at the following location:

       https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/8259688

       19.     Huizhou TCL Mobile Communication Co. Ltd., TCT Mobile (US) Inc., and TCL

Mobile Communication (HK) Co., Ltd. (collectively, “TCL”) filed Ex Parte Reexamination

Request No. 90/014,794 against the ’688 Patent on July 2, 2021. The United States Patent and

Trademark Office (“USPTO”) confirmed that claims 1-3, 5-8, 10, 15, and 16 were patentable, as




                                                 6
Case 2:25-cv-00066-JRG           Document 1         Filed 01/22/25     Page 7 of 30 PageID #: 7




amended, original claims 4, 9, and 11-14 (which depend from amended independent claims) were

patentable, and new claims 17-40 were patentable. A true and correct copy of the first Ex Parte

Reexamination Certificate for the ’688 Patent, issued on January 19, 2022, is publicly-available at

the following location:

       https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/8259688.

       20.     TCL filed Ex Parte Reexamination Request No. 90/019,259 against the ’688 Patent

on September 26, 2023. In Ex Parte Reexamination Request No. 90/019,259, the USPTO

confirmed the patentability of claims 1-40 of the ’688 Patent. A true and correct copy of the second

Ex Parte Reexamination Certificate for the ’688 Patent, issued on April 29, 2024, publicly-

available at the following location:

       https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/8259688

       21.     The ’266 Patent is entitled, “Searching for Control Channels in a Wireless

Network.” It lawfully issued on February 23, 2016 and stems from U.S. Patent Application No.

12/451,350, which was filed on March 2, 2010. The ’266 Patent is publicly-available at the

following location:

       https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/9271266

       22.     The    ’879   Patent    is   entitled,   “Uplink   Control   Signaling   in   Cellular

Telecommunication System.” It lawfully issued on November 8, 2016 and stems from U.S. Patent

Application No. 14/246,537, which was filed on April 7, 2014. The ’879 Patent is publicly-

available at the following location:

       https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/9490879

       23.     The ’227 Patent is entitled, “Reporting Channel State Information in a Multiple

Component Carrier Network.” It lawfully issued on April 11, 2017 and stems from U.S. Patent




                                                   7
Case 2:25-cv-00066-JRG            Document 1         Filed 01/22/25         Page 8 of 30 PageID #: 8




Application No. 15/137,940, which was filed on April 25, 2016. The ’227 Patent is publicly-

available at the following location:

        https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/9622227

        24.     The ’956 Patent is entitled, “Pre-Allocated Random Access Identifiers.” It lawfully

issued on April 20, 2021 and stems from U.S. Patent Application No. 16/151,252, which was filed

on October 3, 2018. The ’956 Patent is publicly-available at the following location:

        https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/10985956

        25.     The ’282 Patent is entitled, “Methods, Apparatuses, Related Computer Program

Product and Data Structure for Deciding on a Signaling Scheme for Handover.” It lawfully issued

on August 31, 2021 and stems from U.S. Patent Application No. 16/821,220, which was filed on

March 17, 2020. The ’282 Patent is publicly-available at the following location:

        https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/11109282

        26.     The ’664 Patent is entitled, “Searching for Control Channels in a Wireless

Network.” It lawfully issued on July 12, 2022 and stems from U.S. Patent Application No.

16/928,749, which was filed on July 14, 2020. The ’664 Patent is publicly-available at the

following location:

        https://ppubs.uspto.gov/dirsearch-public/print/downloadBasicPdf/11388664

        27.     WiLAN has complied with the requirements of 35 U.S.C. § 287, to the extent

necessary, such that Wi-LAN may recover damages. Toyota was put on notice of Asserted Patents

prior to the filing of this action and through the filing of this action.

        28.     The claims of the Asserted Patents are directed to patent-eligible subject matter

under 35 U.S.C. § 101. They are not directed to an abstract idea, and the technologies covered by




                                                    8
Case 2:25-cv-00066-JRG           Document 1        Filed 01/22/25      Page 9 of 30 PageID #: 9




the claims comprise systems and/or ordered combinations of features and functions that, at the

time of invention, were not, alone or in combination, well-understood, routine, or conventional.

          DEFENDANTS’ PRE-SUIT KNOWLEDGE OF ITS INFRINGEMENT

       29.     In August 2021, WiLAN sent a letter to Toyota, addressed to Mr. Akio Toyoda

(Toyota Motor Corporation’s President), Mr. Tetsuo Ogawa (TMNA’s President and CEP), and

Mr. Larry Hutchinson (Toyota Canada Inc’s President and CEO), inviting Toyota to enter into

licensing discussions. WiLAN’s letter stated that Toyota vehicles implementing LTE technology

infringed patents within WiLAN’s LTE portfolio, including the ’266 Patent, the ’227 Patent, and

the ’956 Patent.

       30.     Toyota received WiLAN’s August 2021 letter and subsequently engaged in

discussions with WiLAN. In connection with those discussions, WiLAN provided Toyota with

claim charts for the patents identified in its August 2021 letter, plus other claim charts.

       31.     During the discussions, and rather than acquire a license, Toyota asked WiLAN to

engage in discussions with its major TCU suppliers, LG and Continental, among others, to resolve

infringement and licensing issues. In response to Toyota’s request, WiLAN spoke to LG and

Continental. WiLAN concluded a license with LG within ten months.

       32.     Continental and Toyota have refused to engage in meaningful licensing discussions

with WiLAN. During their discussions, and at the behest of Toyota, WiLAN sent Continental

claim charts for the ’266 Patent, the ’227 Patent, the ’956 Patent, the ’688 Patent, the ’282 Patent,

and the ’664 Patent, explaining how the implementation and use of Continental TCUs in Toyota

vehicles infringe those patents. WiLAN also provided Continental with a claim chart for the

European counterpart of the ’879 Patent, namely EP3154300.




                                                  9
Case 2:25-cv-00066-JRG         Document 1        Filed 01/22/25      Page 10 of 30 PageID #: 10




       33.     Nevertheless, Continental still refused to negotiate in good faith with WiLAN,

much less take a license, even after WiLAN made Continental a licensing offer based squarely on

the commercial terms of WiLAN’s license to LG (which also offered Continental broader scope).

       34.     On April 1, 2024 WiLAN informed Toyota of Continental’s lack of cooperation

and refusal to take a license. Toyota replied that it would discuss the matter with Continental, but

nothing has been received or communicated from Toyota since. Toyota has simply continued to

manufacture and sell Accused Products (e.g., Toyota vehicles with infringing LTE technology).

       35.     On information and belief, Toyota has known of the Asserted Patents based on its

own interactions with WiLAN, as well as its interactions with Continental, with whom it asked

WiLAN to discuss licensing of the WiLAN LTE portfolio.

       36.     The Accused Products addressed in the Counts below include, but are not limited

to, products identified in WiLAN’s letter to Toyota. Toyota’s past and continuing sales of the

Accused Products (i) willfully infringe the Asserted Patents, and (ii) impermissibly usurp the

significant benefits of WiLAN’s patented technologies without fair compensation.

                                             COUNT I
                     (INFRINGEMENT OF U.S. PATENT NO. 8,259,688)

       37.     WiLAN incorporates the preceding paragraphs herein by reference.

       38.     This cause of action arises under the patent laws of the United States, and, in

particular, 35 U.S.C. §§ 271, et seq.

       39.     Wi-LAN Inc. is the sole and exclusive owner of all right, title, and interest in the

’688 Patent and holds the exclusive right to take all actions necessary to enforce its rights in, and

to, the ’688 Patent, including the filing of this patent infringement lawsuit. Indeed, Wi-LAN Inc.

owns all substantial rights in the ’688 Patent, including the right to exclude others and to recover

damages for all past, present, and future infringements.


                                                 10
Case 2:25-cv-00066-JRG         Document 1        Filed 01/22/25      Page 11 of 30 PageID #: 11




       40.     The ʼ688 Patent is valid, enforceable, and was duly and legally issued by the

USPTO on September 4, 2012, after full and fair examination. As discussed above, during a first

reexamination proceeding (No. 90/014,794), the USPTO confirmed that claims 1-3, 5-8, 10, 15,

and 16 were patentable, as amended, original claims 4, 9, and 11-14 (which depend from amended

independent claims) were patentable, and new claims 17-40 were patentable. The USPTO later

confirmed the patentability of claims 1-40 of the ’688 Patent in a second reexamination proceeding

(No. 90/019,259).

       41.     Attached hereto as Exhibit A, and incorporated herein by reference, is a claim

mapping detailing how Toyota infringes the ʼ688 Patent.

Direct Infringement (35 U.S.C. § 271(a))

       42.     Toyota directly infringes one or more claims of the ’688 Patent in this District and

elsewhere in Texas and the United States.

       43.     To this end, Toyota directly infringes, either by itself or via its agent(s), at least

claims 1-3, 6-8, 17-22, 26-34, 36, and 38-40 of the ’688 Patent as set forth under 35 U.S.C. §

271(a) by making, using (including by demonstrating and testing), selling, offering to sell, and/or

importing Accused Products (see, e.g., Exhibit A).

Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       44.     In addition and/or in the alternative to the direct infringements, Toyota indirectly

infringes one or more claims of the ’688 Patent by knowingly and intentionally inducing others,

including its customers and/or other end users, to directly infringe the ’688 Patent.

       45.     At a minimum, Toyota has known of the ’688 Patent at least since service of this

Complaint. But Toyota also has pre-suit knowledge of the ’688 Patent based on pre-suit

discussions with WiLAN and Continental, as discussed above, alerting Toyota to its infringements.




                                                 11
Case 2:25-cv-00066-JRG         Document 1       Filed 01/22/25        Page 12 of 30 PageID #: 12




Since receiving notice of its infringements, Toyota has actively induced, and continues to actively

induce, the direct infringements of its customers and/or other end users (e.g., as illustrated by

Exhibit A) as set forth under U.S.C. § 271(b). Such inducements have been committed with the

knowledge, or with willful blindness to the fact, that the acts induced constitute infringement of

the ’688 Patent. Indeed, Toyota has intended to cause, continues to intend to cause, and has taken,

and continues to take, affirmative steps to induce infringement by, among other things, creating

and disseminating advertisements and instructive materials that promote the infringing use of the

Accused      Products,   including     marketing      materials     (e.g.,    those   available    at

https://www.toyota.com/connected-services/),       user   manuals    (e.g.,   those   available   via

https://www.toyota.com/owners/warranty-owners-manuals/), and online instructional materials

(e.g., those available via https://www.youtube.com/toyotausa) that specifically teach and

encourage customers and other end users to use the Accused Products to implement LTE

communications in an infringing manner. By providing such instructions and support, Toyota

knows (and has known), or should know (and should have known), that its actions have actively

induced, and continue to actively induce, infringement of the ’688 Patent. Additionally, as

discussed above, TMC has induced TMNA and TMS to infringe by importing and/or selling

infringing products through, among other things, corporate directives and planning which

encourage (if not require) TMNA and TMS to import and/or sell Accused Products configured to

implement LTE.

Damages

       46.     Wi-LAN Inc. has been damaged as a result of Toyota’s infringing conduct

described in this Count. Toyota is, thus, liable to Wi-LAN Inc. in an amount that adequately




                                                12
Case 2:25-cv-00066-JRG           Document 1        Filed 01/22/25       Page 13 of 30 PageID #: 13




compensates it for Toyota’s infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

        47.     On information and belief, despite having knowledge of the ’688 Patent and

knowledge that it directly and/or indirectly infringes one or more claims of the ’688 Patent, Toyota

has nevertheless continued its infringing conduct and disregarded an objectively high likelihood

of infringement. Toyota’s infringing activities relative to the ’688 Patent have, thus, been, and

continue to be, willful, wanton, and deliberate in disregard of Wi-LAN Inc.’s rights with respect

to the ’688 Patent, justifying enhanced damages under 35 U.S.C. § 284.

                                              COUNT II
                      (INFRINGEMENT OF U.S. PATENT NO. 9,271,266)

        48.     WiLAN incorporates the preceding paragraphs herein by reference.

        49.     This cause of action arises under the patent laws of the United States, and, in

particular, 35 U.S.C. §§ 271, et seq.

        50.     Wireless Future Technologies Inc. is the sole and exclusive owner of all right, title,

and interest in the ’266 Patent and holds the exclusive right to take all actions necessary to enforce

its rights in, and to, the ’266 Patent, including the filing of this patent infringement lawsuit. Indeed,

Wireless Future Technologies Inc. owns all substantial rights in the ’266 Patent, including the right

to exclude others and to recover damages for all past, present, and future infringements.

        51.     The ʼ266 Patent is valid, enforceable, and was duly and legally issued by the

USPTO on February 23, 2016, after full and fair examination.

        52.     Attached hereto as Exhibit B, and incorporated herein by reference, is a claim

mapping that details how Toyota infringes the ʼ266 Patent.




                                                   13
Case 2:25-cv-00066-JRG          Document 1        Filed 01/22/25       Page 14 of 30 PageID #: 14




Direct Infringement (35 U.S.C. § 271(a))

       53.      Toyota directly infringes one or more claims of the ’266 Patent in this District and

elsewhere in Texas and the United States.

       54.      To this end, Toyota directly infringes, either by itself or via its agent(s), claims 1-

12 of the ’266 Patent as set forth under 35 U.S.C. § 271(a) by making, using (including by

demonstrating and testing), selling, offering to sell, and/or importing Accused Products (see, e.g.,

Exhibit B).

Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       55.      In addition and/or in the alternative to the direct infringements, Toyota indirectly

infringes one or more claims of the ’266 Patent by knowingly and intentionally inducing others,

including its customers and/or other end users, to directly infringe the ’266 Patent.

       56.      At a minimum, Toyota has known of the ’266 Patent at least since service of this

Complaint. But Toyota also has pre-suit knowledge of the ’266 Patent based on pre-suit

discussions with WiLAN and Continental, as discussed above, alerting Toyota to its infringements.

Since receiving notice of its infringements, Toyota has actively induced, and continues to actively

induce, the direct infringements of its customers and/or other end users (e.g., as illustrated by

Exhibit B) as set forth under U.S.C. § 271(b). Such inducements have been committed with the

knowledge, or with willful blindness to the fact, that the acts induced constitute infringement of

the ’266 Patent. Indeed, Toyota has intended to cause, continues to intend to cause, and has taken,

and continues to take, affirmative steps to induce infringement by, among other things, creating

and disseminating advertisements and instructive materials that promote the infringing use of the

Accused       Products,   including     marketing      materials     (e.g.,    those    available    at

https://www.toyota.com/connected-services/),        user   manuals    (e.g.,   those    available   via




                                                  14
Case 2:25-cv-00066-JRG         Document 1       Filed 01/22/25      Page 15 of 30 PageID #: 15




https://www.toyota.com/owners/warranty-owners-manuals/), and online instructional materials

(e.g., those available via https://www.youtube.com/toyotausa) that specifically teach and

encourage customers and other end users to use the Accused Products to implement LTE

communications in an infringing manner. By providing such instructions and support, Toyota

knows (and has known), or should know (and should have known), that its actions have actively

induced, and continue to actively induce, infringement of the ’266 Patent. Additionally, as

discussed above, TMC has induced TMNA and TMS to infringe by importing and/or selling

infringing products through, among other things, corporate directives and planning which

encourage (if not require) TMNA and TMS to import and/or sell Accused Products configured to

implement LTE.

Damages

       57.      Wireless Future Technologies Inc. has been damaged as a result of Toyota’s

infringing conduct described in this Count. Toyota is, thus, liable to Wireless Future Technologies

Inc. in an amount that adequately compensates it for Toyota’s infringements, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

       58.      On information and belief, despite having knowledge of the ’266 Patent and

knowledge that it directly and/or indirectly infringes one or more claims of the ’266 Patent, Toyota

has nevertheless continued its infringing conduct and disregarded an objectively high likelihood

of infringement. Toyota’s infringing activities relative to the ’266 Patent have, thus, been, and

continue to be, willful, wanton, and deliberate in disregard of Wireless Future Technologies Inc.’s

rights with respect to the ’266 Patent, justifying enhanced damages under 35 U.S.C. § 284.




                                                15
Case 2:25-cv-00066-JRG           Document 1        Filed 01/22/25       Page 16 of 30 PageID #: 16




                                             COUNT III
                      (INFRINGEMENT OF U.S. PATENT NO. 9,490,879)

        59.     WiLAN incorporates the preceding paragraphs herein by reference.

        60.     This cause of action arises under the patent laws of the United States, and, in

particular, 35 U.S.C. §§ 271, et seq.

        61.     Wireless Future Technologies Inc. is the sole and exclusive owner of all right, title,

and interest in the ’879 Patent and holds the exclusive right to take all actions necessary to enforce

its rights in, and to, the ’879 Patent, including the filing of this patent infringement lawsuit. Indeed,

Wireless Future Technologies Inc. owns all substantial rights in the ’879 Patent, including the right

to exclude others and to recover damages for all past, present, and future infringements.

        62.     The ʼ879 Patent is valid, enforceable, and was duly and legally issued by the

USPTO on November 8, 2016, after full and fair examination.

        63.     Attached hereto as Exhibit C, and incorporated herein by reference, is a claim

mapping that details how Toyota infringes the ʼ879 Patent.

Direct Infringement (35 U.S.C. § 271(a))

        64.     Toyota directly infringes one or more claims of the ’879 Patent in this District and

elsewhere in Texas and the United States.

        65.     To this end, Toyota directly infringes, either by itself or via its agent(s), at least

claims 1-4 of the ’879 Patent as set forth under 35 U.S.C. § 271(a) by making, using (including by

demonstrating and testing), selling, offering to sell, and/or importing Accused Products (see, e.g.,

Exhibit C).




                                                   16
Case 2:25-cv-00066-JRG         Document 1        Filed 01/22/25       Page 17 of 30 PageID #: 17




Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       66.     In addition and/or in the alternative to the direct infringements, Toyota indirectly

infringes one or more claims of the ’879 Patent by knowingly and intentionally inducing others,

including its customers and/or other end users, to directly infringe the ’879 Patent.

       67.     At a minimum, Toyota has known of the ’879 Patent at least since service of this

Complaint. But Toyota also has pre-suit knowledge of the ’879 Patent based on pre-suit

discussions with WiLAN and Continental, as discussed above, alerting Toyota to its infringements.

Since receiving notice of its infringements, Toyota has actively induced, and continues to actively

induce, the direct infringements of its customers and/or other end users (e.g., as illustrated by

Exhibit C) as set forth under U.S.C. § 271(b). Such inducements have been committed with the

knowledge, or with willful blindness to the fact, that the acts induced constitute infringement of

the ’879 Patent. Indeed, Toyota has intended to cause, continues to intend to cause, and has taken,

and continues to take, affirmative steps to induce infringement by, among other things, creating

and disseminating advertisements and instructive materials that promote the infringing use of the

Accused      Products,    including    marketing      materials     (e.g.,    those     available    at

https://www.toyota.com/connected-services/),       user   manuals    (e.g.,   those     available   via

https://www.toyota.com/owners/warranty-owners-manuals/), and online instructional materials

(e.g., those available via https://www.youtube.com/toyotausa) that specifically teach and

encourage customers and other end users to use the Accused Products to implement LTE

communications in an infringing manner. By providing such instructions and support, Toyota

knows (and has known), or should know (and should have known), that its actions have actively

induced, and continue to actively induce, infringement of the ’879 Patent. Additionally, as

discussed above, TMC has induced TMNA and TMS to infringe by importing and/or selling




                                                 17
Case 2:25-cv-00066-JRG           Document 1        Filed 01/22/25       Page 18 of 30 PageID #: 18




infringing products through, among other things, corporate directives and planning which

encourage (if not require) TMNA and TMS to import and/or sell Accused Products configured to

implement LTE.

Damages

        68.     Wireless Future Technologies Inc. has been damaged as a result of Toyota’s

infringing conduct described in this Count. Toyota is, thus, liable to Wireless Future Technologies

Inc. in an amount that adequately compensates it for Toyota’s infringements, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

        69.     On information and belief, despite having knowledge of the ’879 Patent and

knowledge that it directly and/or indirectly infringes one or more claims of the ’879 Patent, Toyota

has nevertheless continued its infringing conduct and disregarded an objectively high likelihood

of infringement. Toyota’s infringing activities relative to the ’879 Patent have, thus, been, and

continue to be, willful, wanton, and deliberate in disregard of Wireless Future Technologies Inc.’s

rights with respect to the ’879 Patent, justifying enhanced damages under 35 U.S.C. § 284.

                                             COUNT IV
                      (INFRINGEMENT OF U.S. PATENT NO. 9,622,227)

        70.     WiLAN incorporates the preceding paragraphs herein by reference.

        71.     This cause of action arises under the patent laws of the United States, and, in

particular, 35 U.S.C. §§ 271, et seq.

        72.     Wireless Future Technologies Inc. is the sole and exclusive owner of all right, title,

and interest in the ’227 Patent and holds the exclusive right to take all actions necessary to enforce

its rights in, and to, the ’227 Patent, including the filing of this patent infringement lawsuit. Indeed,




                                                   18
Case 2:25-cv-00066-JRG         Document 1        Filed 01/22/25       Page 19 of 30 PageID #: 19




Wireless Future Technologies Inc. owns all substantial rights in the ’227 Patent, including the right

to exclude others and to recover damages for all past, present, and future infringements.

       73.     The ʼ227 Patent is valid, enforceable, and was duly and legally issued by the

USPTO on April 11, 2017, after full and fair examination.

       74.     Attached hereto as Exhibit D, and incorporated herein by reference, is a claim

mapping that details how Toyota infringes the ʼ227 Patent.

Direct Infringement (35 U.S.C. § 271(a))

       75.     Toyota directly infringes one or more claims of the ’227 Patent in this District and

elsewhere in Texas and the United States.

       76.     To this end, Toyota directly infringes, either by itself or via its agent(s), claims 1-9

of the ’227 Patent as set forth under 35 U.S.C. § 271(a) by making, using (including by

demonstrating and testing), selling, offering to sell, and/or importing Accused Products (see, e.g.,

Exhibit D).

Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       77.     In addition and/or in the alternative to the direct infringements, Toyota indirectly

infringes one or more claims of the ’227 Patent by knowingly and intentionally inducing others,

including its customers and/or other end users, to directly infringe the ’227 Patent.

       78.     At a minimum, Toyota has known of the ’227 Patent at least since service of this

Complaint. But Toyota also has pre-suit knowledge of the ’227 Patent based on pre-suit

discussions with WiLAN and Continental, as discussed above, alerting Toyota to its infringements.

Since receiving notice of its infringements, Toyota has actively induced, and continues to actively

induce, the direct infringements of its customers and/or other end users (e.g., as illustrated by

Exhibit D) as set forth under U.S.C. § 271(b). Such inducements have been committed with the




                                                 19
Case 2:25-cv-00066-JRG         Document 1       Filed 01/22/25        Page 20 of 30 PageID #: 20




knowledge, or with willful blindness to the fact, that the acts induced constitute infringement of

the ’227 Patent. Indeed, Toyota has intended to cause, continues to intend to cause, and has taken,

and continues to take, affirmative steps to induce infringement by, among other things, creating

and disseminating advertisements and instructive materials that promote the infringing use of the

Accused      Products,   including     marketing      materials     (e.g.,    those   available    at

https://www.toyota.com/connected-services/),       user   manuals    (e.g.,   those   available   via

https://www.toyota.com/owners/warranty-owners-manuals/), and online instructional materials

(e.g., those available via https://www.youtube.com/toyotausa) that specifically teach and

encourage customers and other end users to use the Accused Products to implement LTE

communications in an infringing manner. By providing such instructions and support, Toyota

knows (and has known), or should know (and should have known), that its actions have actively

induced, and continue to actively induce, infringement of the ’227 Patent. Additionally, as

discussed above, TMC has induced TMNA and TMS to infringe by importing and/or selling

infringing products through, among other things, corporate directives and planning which

encourage (if not require) TMNA and TMS to import and/or sell Accused Products configured to

implement LTE.

Damages

       79.      Wireless Future Technologies Inc. has been damaged as a result of Toyota’s

infringing conduct described in this Count. Toyota is, thus, liable to Wireless Future Technologies

Inc. in an amount that adequately compensates it for Toyota’s infringements, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.




                                                20
Case 2:25-cv-00066-JRG         Document 1        Filed 01/22/25      Page 21 of 30 PageID #: 21




       80.     On information and belief, despite having knowledge of the ’227 Patent and

knowledge that it directly and/or indirectly infringes one or more claims of the ’227 Patent, Toyota

has nevertheless continued its infringing conduct and disregarded an objectively high likelihood

of infringement. Toyota’s infringing activities relative to the ’227 Patent have, thus, been, and

continue to be, willful, wanton, and deliberate in disregard of Wireless Future Technologies Inc.’s

rights with respect to the ’227 Patent, justifying enhanced damages under 35 U.S.C. § 284.

                                            COUNT V
                    (INFRINGEMENT OF U.S. PATENT NO. 10,985,956)

       81.     WiLAN incorporates the preceding paragraphs herein by reference.

       82.     This cause of action arises under the patent laws of the United States, and, in

particular, 35 U.S.C. §§ 271, et seq.

       83.     Wi-LAN Inc. is the sole and exclusive owner of all right, title, and interest in the

’956 Patent and holds the exclusive right to take all actions necessary to enforce its rights in, and

to, the ’956 Patent, including the filing of this patent infringement lawsuit. Indeed, Wi-LAN Inc.

owns all substantial rights in the ’956 Patent, including the right to exclude others and to recover

damages for all past, present, and future infringements.

       84.     The ʼ956 Patent is valid, enforceable, and was duly and legally issued by the

USPTO on April 20, 2021, after full and fair examination.

       85.     Attached hereto as Exhibit E, and incorporated herein by reference, is a claim

mapping that details how Toyota infringes the ʼ956 Patent.

Direct Infringement (35 U.S.C. § 271(a))

       86.     Toyota directly infringes one or more claims of the ’956 Patent in this District and

elsewhere in Texas and the United States.




                                                 21
Case 2:25-cv-00066-JRG          Document 1        Filed 01/22/25       Page 22 of 30 PageID #: 22




       87.      To this end, Toyota directly infringes, either by itself or via its agent(s), claims 1-

22 of the ’956 Patent as set forth under 35 U.S.C. § 271(a) by making, using (including by

demonstrating and testing), selling, offering to sell, and/or importing Accused Products (see, e.g.,

Exhibit E).

Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       88.      In addition and/or in the alternative to the direct infringements, Toyota indirectly

infringes one or more claims of the ’956 Patent by knowingly and intentionally inducing others,

including its customers and/or other end users, to directly infringe the ’956 Patent.

       89.      At a minimum, Toyota has known of the ’956 Patent at least since service of this

Complaint. But Toyota also has pre-suit knowledge of the ’956 Patent based on pre-suit

discussions with WiLAN and Continental, as discussed above, alerting Toyota to its infringements.

Since receiving notice of its infringements, Toyota has actively induced, and continues to actively

induce, the direct infringements of its customers and/or other end users (e.g., as illustrated by

Exhibit E) as set forth under U.S.C. § 271(b). Such inducements have been committed with the

knowledge, or with willful blindness to the fact, that the acts induced constitute infringement of

the ’956 Patent. Indeed, Toyota has intended to cause, continues to intend to cause, and has taken,

and continues to take, affirmative steps to induce infringement by, among other things, creating

and disseminating advertisements and instructive materials that promote the infringing use of the

Accused       Products,   including     marketing      materials     (e.g.,    those    available    at

https://www.toyota.com/connected-services/),        user   manuals    (e.g.,   those    available   via

https://www.toyota.com/owners/warranty-owners-manuals/), and online instructional materials

(e.g., those available via https://www.youtube.com/toyotausa) that specifically teach and

encourage customers and other end users to use the Accused Products to implement LTE




                                                  22
Case 2:25-cv-00066-JRG         Document 1       Filed 01/22/25      Page 23 of 30 PageID #: 23




communications in an infringing manner. By providing such instructions and support, Toyota

knows (and has known), or should know (and should have known), that its actions have actively

induced, and continue to actively induce, infringement of the ’956 Patent. Additionally, as

discussed above, TMC has induced TMNA and TMS to infringe by importing and/or selling

infringing products through, among other things, corporate directives and planning which

encourage (if not require) TMNA and TMS to import and/or sell Accused Products configured to

implement LTE.

Damages

       90.     Wi-LAN Inc. has been damaged as a result of Toyota’s infringing conduct

described in this Count. Toyota is, thus, liable to Wi-LAN Inc. in an amount that adequately

compensates it for Toyota’s infringements, which, by law, cannot be less than a reasonable royalty,

together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

       91.     On information and belief, despite having knowledge of the ’956 Patent and

knowledge that it directly and/or indirectly infringes one or more claims of the ’956 Patent, Toyota

has nevertheless continued its infringing conduct and disregarded an objectively high likelihood

of infringement. Toyota’s infringing activities relative to the ’956 Patent have, thus, been, and

continue to be, willful, wanton, and deliberate in disregard of Wi-LAN Inc.’s rights with respect

to the ’956 Patent, justifying enhanced damages under 35 U.S.C. § 284.

                                           COUNT VI
                    (INFRINGEMENT OF U.S. PATENT NO. 11,109,282)

       92.     WiLAN incorporates the preceding paragraphs herein by reference.

       93.     This cause of action arises under the patent laws of the United States, and, in

particular, 35 U.S.C. §§ 271, et seq.




                                                23
Case 2:25-cv-00066-JRG           Document 1        Filed 01/22/25       Page 24 of 30 PageID #: 24




        94.     Wireless Future Technologies Inc. is the sole and exclusive owner of all right, title,

and interest in the ’282 Patent and holds the exclusive right to take all actions necessary to enforce

its rights in, and to, the ’282 Patent, including the filing of this patent infringement lawsuit. Indeed,

Wireless Future Technologies Inc. owns all substantial rights in the ’282 Patent, including the right

to exclude others and to recover damages for all past, present, and future infringements.

        95.     The ʼ282 Patent is valid, enforceable, and was duly and legally issued by the

USPTO on August 31, 2021, after full and fair examination.

        96.     Attached hereto as Exhibit F, and incorporated herein by reference, is a claim

mapping that details how Toyota infringes the ʼ282 Patent.

Direct Infringement (35 U.S.C. § 271(a))

        97.     Toyota directly infringes one or more claims of the ’282 Patent in this District and

elsewhere in Texas and the United States.

        98.     To this end, Toyota directly infringes, either by itself or via its agent(s), claims 1-

20 of the ’282 Patent as set forth under 35 U.S.C. § 271(a) by making, using (including by

demonstrating and testing), selling, offering to sell, and/or importing Accused Products (see, e.g.,

Exhibit F).

Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

        99.     In addition and/or in the alternative to the direct infringements, Toyota indirectly

infringes one or more claims of the ’282 Patent by knowingly and intentionally inducing others,

including its customers and/or other end users, to directly infringe the ’282 Patent.

        100.    At a minimum, Toyota has known of the ’282 Patent at least since service of this

Complaint. But Toyota also has pre-suit knowledge of the ’282 Patent based on pre-suit

discussions with WiLAN and Continental, as discussed above, alerting Toyota to its infringements.




                                                   24
Case 2:25-cv-00066-JRG         Document 1       Filed 01/22/25        Page 25 of 30 PageID #: 25




Since receiving notice of its infringements, Toyota has actively induced, and continues to actively

induce, the direct infringements of its customers and/or other end users (e.g., as illustrated by

Exhibit F) as set forth under U.S.C. § 271(b). Such inducements have been committed with the

knowledge, or with willful blindness to the fact, that the acts induced constitute infringement of

the ’282 Patent. Indeed, Toyota has intended to cause, continues to intend to cause, and has taken,

and continues to take, affirmative steps to induce infringement by, among other things, creating

and disseminating advertisements and instructive materials that promote the infringing use of the

Accused       Products,   including    marketing      materials     (e.g.,    those   available    at

https://www.toyota.com/connected-services/),       user   manuals    (e.g.,   those   available   via

https://www.toyota.com/owners/warranty-owners-manuals/), and online instructional materials

(e.g., those available via https://www.youtube.com/toyotausa) that specifically teach and

encourage customers and other end users to use the Accused Products to implement LTE

communications in an infringing manner. By providing such instructions and support, Toyota

knows (and has known), or should know (and should have known), that its actions have actively

induced, and continue to actively induce, infringement of the ’282 Patent. Additionally, as

discussed above, TMC has induced TMNA and TMS to infringe by importing and/or selling

infringing products through, among other things, corporate directives and planning which

encourage (if not require) TMNA and TMS to import and/or sell Accused Products configured to

implement LTE.

Damages

       101.     Wireless Future Technologies Inc. has been damaged as a result of Toyota’s

infringing conduct described in this Count. Toyota is, thus, liable to Wireless Future Technologies

Inc. in an amount that adequately compensates it for Toyota’s infringements, which, by law, cannot




                                                25
Case 2:25-cv-00066-JRG           Document 1        Filed 01/22/25       Page 26 of 30 PageID #: 26




be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

        102.    On information and belief, despite having knowledge of the ’282 Patent and

knowledge that it directly and/or indirectly infringes one or more claims of the ’282 Patent, Toyota

has nevertheless continued its infringing conduct and disregarded an objectively high likelihood

of infringement. Toyota’s infringing activities relative to the ’282 Patent have, thus, been, and

continue to be, willful, wanton, and deliberate in disregard of Wireless Future Technologies Inc.’s

rights with respect to the ’282 Patent, justifying enhanced damages under 35 U.S.C. § 284.

                                             COUNT VII
                     (INFRINGEMENT OF U.S. PATENT NO. 11,388,664)

        103.    WiLAN incorporates the preceding paragraphs herein by reference.

        104.    This cause of action arises under the patent laws of the United States, and, in

particular, 35 U.S.C. §§ 271, et seq.

        105.    Wireless Future Technologies Inc. is the sole and exclusive owner of all right, title,

and interest in the ’664 Patent and holds the exclusive right to take all actions necessary to enforce

its rights in, and to, the ’664 Patent, including the filing of this patent infringement lawsuit. Indeed,

Wireless Future Technologies Inc. owns all substantial rights in the ’664 Patent, including the right

to exclude others and to recover damages for all past, present, and future infringements.

        106.    The ʼ664 Patent is valid, enforceable, and was duly and legally issued by the

USPTO on July 12, 2022, after full and fair examination.

        107.    Attached hereto as Exhibit G, and incorporated herein by reference, is a claim

mapping that details how Toyota infringes the ʼ664 Patent.




                                                   26
Case 2:25-cv-00066-JRG             Document 1     Filed 01/22/25       Page 27 of 30 PageID #: 27




Direct Infringement (35 U.S.C. § 271(a))

       108.     Toyota directly infringes one or more claims of the ’664 Patent in this District and

elsewhere in Texas and the United States.

       109.     To this end, Toyota directly infringes, either by itself or via its agent(s), at least

claims 15 and 18 of the ’664 Patent as set forth under 35 U.S.C. § 271(a) by making, using

(including by demonstrating and testing), selling, offering to sell, and/or importing Accused

Products (see, e.g., Exhibit G).

Indirect Infringement (Inducement – 35 U.S.C. § 271(b))

       110.     In addition and/or in the alternative to the direct infringements, Toyota indirectly

infringes one or more claims of the ’664 Patent by knowingly and intentionally inducing others,

including its customers and/or other end users, to directly infringe the ’664 Patent.

       111.     At a minimum, Toyota has known of the ’664 Patent at least since service of this

Complaint. But Toyota also has pre-suit knowledge of the ’664 Patent based on pre-suit

discussions with WiLAN and Continental, as discussed above, alerting Toyota to its infringements.

Since receiving notice of its infringements, Toyota has actively induced, and continues to actively

induce, the direct infringements of its customers and/or other end users (e.g., as illustrated by

Exhibit G) as set forth under U.S.C. § 271(b). Such inducements have been committed with the

knowledge, or with willful blindness to the fact, that the acts induced constitute infringement of

the ’664 Patent. Indeed, Toyota has intended to cause, continues to intend to cause, and has taken,

and continues to take, affirmative steps to induce infringement by, among other things, creating

and disseminating advertisements and instructive materials that promote the infringing use of the

Accused       Products,   including     marketing      materials     (e.g.,    those    available    at

https://www.toyota.com/connected-services/),        user   manuals    (e.g.,   those    available   via




                                                 27
Case 2:25-cv-00066-JRG         Document 1       Filed 01/22/25      Page 28 of 30 PageID #: 28




https://www.toyota.com/owners/warranty-owners-manuals/), and online instructional materials

(e.g., those available via https://www.youtube.com/toyotausa) that specifically teach and

encourage customers and other end users to use the Accused Products to implement LTE

communications in an infringing manner. By providing such instructions and support, Toyota

knows (and has known), or should know (and should have known), that its actions have actively

induced, and continue to actively induce, infringement of the ’664 Patent. Additionally, as

discussed above, TMC has induced TMNA and TMS to infringe by importing and/or selling

infringing products through, among other things, corporate directives and planning which

encourage (if not require) TMNA and TMS to import and/or sell Accused Products configured to

implement LTE.

Damages

       112.     Wireless Future Technologies Inc. has been damaged as a result of Toyota’s

infringing conduct described in this Count. Toyota is, thus, liable to Wireless Future Technologies

Inc. in an amount that adequately compensates it for Toyota’s infringements, which, by law, cannot

be less than a reasonable royalty, together with interest and costs as fixed by this Court under 35

U.S.C. § 284.

       113.     On information and belief, despite having knowledge of the ’664 Patent and

knowledge that it directly and/or indirectly infringes one or more claims of the ’664 Patent, Toyota

has nevertheless continued its infringing conduct and disregarded an objectively high likelihood

of infringement. Toyota’s infringing activities relative to the ’664 Patent have, thus, been, and

continue to be, willful, wanton, and deliberate in disregard of Wireless Future Technologies Inc.’s

rights with respect to the ’664 Patent, justifying enhanced damages under 35 U.S.C. § 284.




                                                28
Case 2:25-cv-00066-JRG            Document 1      Filed 01/22/25      Page 29 of 30 PageID #: 29




                                           CONCLUSION

       114.      WiLAN is entitled to recover from Toyota the damages sustained by WiLAN as a

result of Toyota’s wrongful acts and willful infringements in an amount subject to proof at trial,

which, by law, cannot be less than a reasonable royalty, together with interest and costs as fixed

by this Court.

       115.      WiLAN has incurred and will incur attorneys’ fees, costs, and expenses in the

prosecution of this action. The circumstances of this dispute may give rise to an exceptional case

within the meaning of 35 U.S.C. § 285, and, in such case, WiLAN is entitled to recover its

reasonable and necessary attorneys’ fees, costs, and expenses.

                                          JURY DEMAND

       116.      WiLAN hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of

Civil Procedure.

                                       PRAYER FOR RELIEF

       WiLAN respectfully requests that the Court find in its favor and against Toyota, and that

the Court grant WiLAN the following relief:

       (i)       Judgment that one or more claims of the Asserted Patents have been infringed,

                 either literally and/or under the doctrine of equivalents, by Toyota;

       (ii)      Judgment that one or more claims of the Asserted Patents have been willfully

                 infringed, either literally and/or under the doctrine of equivalents, by Toyota;

       (iii)     Judgment that Toyota account for and pay to WiLAN all damages and costs

                 incurred by WiLAN because of Toyota’s infringements and other conduct

                 complained of herein, including an accounting for any sales or damages not

                 presented at trial;




                                                  29
Case 2:25-cv-00066-JRG         Document 1       Filed 01/22/25     Page 30 of 30 PageID #: 30




       (iv)    Judgment that Toyota account for and pay to WiLAN a reasonable, ongoing, post-

               judgment royalty because of Toyota’s infringements, including continuing

               infringing activities, and other conduct complained of herein;

       (v)     Judgment that WiLAN be granted pre-judgment and post-judgment interest on the

               damages caused by Toyota’s infringements and other conduct complained of

               herein;

       (vi)    Judgment that this case is exceptional under the provisions of 35 U.S.C. § 285 and

               award enhanced damages; and

       (vii)   Such other and further relief as the Court deems just and equitable.

Dated: January 22, 2025                              Respectfully submitted,


                                                     /s/ Edward R. Nelson III
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                                                     Attorneys for Plaintiffs Wi-LAN Inc. and
                                                     Wireless Future Technologies Inc.


                                                30
